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Exhibit D
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IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629

Master File No. 04-10981

THIS DOCUMENT RELATES TO:

ALL ACTIONS

Judge Patti B. Saris

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DECLARATION OF JAMES R, DUGAN, II IN SUPPORT OF
APPOINTMENT TO PLAINTIFFS’ STEERING COMMITTEE

I, James R. Dugan, I, depose and state as follows:

1, [am a partner at the law firm of Dugan & Browne, APLC. I have extensive

experience in prosecuting and litigating complex litigation. I have full knowledge of the matters

stated herein and would testify thereto.

2. Our firm has extensive experience prosecuting class actions. Attached hereto as

Exhibit A ts the firm’s résumé. Our experience includes the following relevant matters:

a. We have been appointed or acted as lead counsel or co-lead counsel or to the

Plaintiff's Steering Committee involving pharmaceutical cases, including but not

limited to:

In Re:

In Re:

In Re:

In Re:

In Re:

In Re:

In Re:

Synthroid Marketing Litigation, (WDL 1182),

Propulsid Litigation, (MDL 1355)

Rezulin Products Liability Litigation, (MDL 1348)

Inter-Op Hip Prosthesis Product Liability Litigation, (MDL 1401)
Baycol Products Liability Litigation, (MDL 1431)

Meridia Products Liability Litigation, (MDL 1481)

Serzone Products Liability Litigation (MDL 1477)
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3. Our firm began investigating the claims raised in this litigation, and other potential
causes of action that could be raised, well before this litigation commenced, including
researching publicly available documents and applicable law to develop theories of liability,
meeting with persons knowledgeable in pharmaceutical marketing and sales practices, and
interviewing clients.

4. Our firm represents consumers, third party payors and Attorneys General in class
actions involving claims against pharmaceutical companies for marketing and sales policies.
Thus, our firm has experience with such issues as class certification, discovery and trial of
pharmaceutical cases.

5. Our firm is committed and has demonstrated its commitment to expend whatever
resources are necessary—of time, personnel, and money—to prosecute this action and represent the
class.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 14, 2004

JAMES R 1 BUGAN, i‘ A
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Dugan&Browne f

A Professional Law Corporation

James R. Dugan, II
Attorney at Law

direct: (504) 648-0180
jJéugan@duganbrowne.com

Curriculum Vitae of Dugan & Browne, a Professional Law Corporation
and James R. Dugan,
3500 N. Hullen Street
Metairie, Louisiana 70002
Telephone Number: (504) 456-8220
Website: www.duganbrowne.com
E-mail Address: jdugan@duganbrowne.com

James R. Dugan, II

Mr. Dugan is a founding partner of Dugan & Browne, PLC. Mr. Dugan gained valuable experience
working with the late Wendell H. Gauthier and the Law Firm of Gauthier, Downing, LaBarre, Beiser
& Dean in the areas of class action, mass tort, and complex litigation, beginning with the seminal
class action lawsuit filed against the tobacco industry on the basis of nicotine addiction, Castano v.
American Tobacco, et al.

Over the years, Mr. Dugan has specialized in the area of pharmaceutical complex litigation
representing Blue Cross of Louisiana in cases against the manufacturers of Synthroid, Fen-Phen,
Rezulin and most recently Neurontin. He also represented the Louisiana Attorney General in the
Synthroid and Baycol litigations. He has also represented consumers and injured clients in a variety
of pharmaceutical, aviation, railroad and maritime cases. It is this unique experience that makes Mr.
Dugan one of the most experienced pharmaceutical attorneys in the country. He also has a unique
ability to work with other attorneys and is always willing to work with whatever court a case is
assigned to. Asa result of his demonstrated skill and experience in his class action and mass tort
practice, Mr. Dugan has been appointed by the court to serve in key leadership positions in a number
of large, national class action cases, which include:

L. In Re: Synthroid Marketing Litigation, (MDL 1182), (1997-2004) United States
District Court for the Northern District of Illinois, Eastern Division, Judge Elaine E.
Bucklo. Mr. Dugan served as co-lead counsel in this national class action on behalf
of third-party payors that were overcharged for the thyroid medication Synthroid.

2. In Re: Diet Drugs Litigation, (MDL 1203), (1997-2002) United States District
Court for the Eastern District of Pennsylvania, Judge Lewis C. Bechtle. Mr. Dugan
filed a national class action on behalf of third-party payors in Louisiana HMO vy.
American Home Products, et al. Mr. Dugan was also co-lead counsel for a large
group of individually represented third-party payors.

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In Re: Propulsid Litigation, (MDL 1355), (2000-Present} United States District
Court, Eastern District of Louisiana, Judge Eldon Fallon. Mass Tort Products
Liability case involving thousands of individuals injured from the use of the
heartburn medicine Propulsid. Member: Plaintiff's Steering Committee.

In Re: Rezulin Products Liability Litigation, (MDL 1348), (2000-Present) United

States District Court, Southern District of New York, Judge Lewis A. Kaplan. Mass
tort products liability action involving claims by individuals for personal injury and
claims by the healthcare industry to recoup costs associated with paying claims on
behalf of members. Mr. Dugan was appointed by the court as Liaison Counsel to a
class of Health Benefit Providers.

In Re: Industrial Life Insurance Litigation, (MDL 1371), (2000-Present) United
States District Court, Eastern District of Louisiana, Judge Martin L.C. Feldman,
presiding. Case involving hundreds of thousands of African-Americans who were
charged higher premiums than Caucasians for the same type of burial insurance
policies. Member: Plaintiff's Executive Committee.

In Re: Inter-Op Hip Prosthesis Product Liability Litigation, (MDL 1401), (2001-

Present} United States District court, Northern District of Ohio, Eastern Division,
Judge Kathleen O’ Malley. Mass tort products liability case involving thousands of
claims for personal injury over the recall of a defective hip implant. Member:
Plaintiff's Steering Committec.

In Re: Baycol Products Liability Litigation, (MDL 1431), (2001-Present) United

States District Court, District of Minnesota, Judge Michael Davis. Mass tort products
liability case involving thousands of individuals who suffered personal injury over
the defective drug Baycol. Member: Plaintiff's Steering Committee.

In Re: Meridia Products Liability Litigation, (MDL 1481), (2002-Present) United
States District Court, Northern District of Ohio, Judge James S. Gwin. Mass tort
products liability case involving thousands of individuals who suffered personal
injury over the defective drug Meridia. Member: Plaintiffs Steering Committee.

In Re: Serzone Products Liability Litigation (MDL 1477), (2002-Present) United

States District Court, Southern District of West Virginia, Judge Joseph R. Goodwin.
Mass tort products hability case involving thousands of individuals who suffered
personal injury over the defective drug Serzone. Member: Plaintiffs Steering
Committee.
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[n addition to Federal MDL appointments, Mr. Dugan is lead counsel in the following State Court
class action cases:

l.

US Agencies Casualty Insurance Company, Inc., et al v. Bridgestone/Firestone,
Inc, (2004-Present) Judge Sanders, 60" Judicial District Court, Jefferson County,
Texas, Lead counsel for a class of property damage insurers to recoup their costs
paid out due to Firestone tire rollover property damage cases.

Roxy Wright, Rosalie F. Miranda, et al vy. Tenet Louisiana, Inc., et al, (2004-
Present) Fudge Nadine M, Ramsey, Civil District Court for the Parish of Orleans,
State of Louisiana. Lead Counsel for a class of uninsured patients who were billed
excessive hospital charges for care.

Rose Goudeau, et al v. The Administrators of the Tulane Educational Fund, et
al, (2004-Present) Judge Nadine M. Ramsey, Civil District Court for the Parish of
Orleans, State of Louisiana. Lead counsel for a class of family members whose
loved ones donated their bodies to the Tulane Willed Body Program but were sold
by Tulane to third parties for profit.

State of Louisiana v. Bayer, et al, Case Number 04-439 (2004-Present) Judge
Piper D. Griffin, Civil District Court for the Parish of Orleans, State of Louisiana.
Lead counsel on behalf of the State of Louisiana and the Attorney General to recoup
all costs expended by the State of Louisiana on behalf of the drug Baycol.

Mr. Dugan received his B.A. from the University of Southwestern Louisiana in Lafayette and his
J.D. from the Loyola University School of Law in New Orleans, Louisiana. He is a member of the
Louisiana Bar and has also been admitted to practice before a number of federal courts, including
the Eastern and Middle Districts of Louisiana, and the Southern District of Alabama. Mr. Dugan
is an active member in a number of respected legal associations, including the Louisiana Trial
Lawyers Association, the Jefferson Parish and Orleans Parish Bar Associations, and the Louisiana
State and American Bar Associations.

Mr. Dugan’s areas of practice include: Class Action Litigation, Mass Tort Litigation, Pharmaceutical
Litigation, Toxic Tort Litigation, Environmental Litigation, Personal Injury, Aviation, Railroad and
Maritime Personal Injury.

Mr. Dugan ts also married and has a 15 months old son, James R. Dugan, III.
